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EXHIB|T

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MUSCOGEE COUNTY SUPERIOR COURT
STATE OF GEORGIA GEORGIA, MUSCOGEE COUNTY

SUPERloR/STATE COURT
ANTHONY ANI) WANDA t)oNALDsoN, } F""ED 'N OFF'CE
individually and on behalf-of all persons ) AUG 2 5 w
.simiiarly:situated, ) ' q §§ § §§ Q__C , ,
) DE `
Piaindffs ) M. thoA PFERCE, cLERl<
)
v. ) Civil Action File No.:
> 1 o
GMAC MORTGAGE, LLC, AND ) 31 @Ol C.\/€)?) §§
G;MAC LLC, l
)
Det`endants. )

CLA `S ACTION CGMPLAINT F()_R I)AMA E ND {)THER RELIEF

COME NOW Pleintiffs, ANTHONY AND WANDA DO'NALDSON (hereinafter
“Plaintiffs") and bring this Cornpiaint seeking damages end other relief on behalf of themselves
individuaily. and as representatives ot` the class ot' victims described herein, against GMAC
MORTGAGE, LLC and GMAC LLC (hereinafter “Defendants“). fn support of Plaint-iffs’ claims,
Plaintift`s state the following

INTRODUCT§()N

l. Dei`endants have improperly and wrongfully charged and coilected fees from
Pieintiffs and putative class members which are in violation of the contracts and are otherwise
improper as set out herein The fees are unlawfni, fraudulent deceitful. excessive, unnecessary
mischeractcri z,ctl\ unconscionable and mislet-ttlingl l)efendants’ wrongful conduct also constitutes
a pattern ot`mcketeering activity by which Defendants unlawfully end improperly acquired Piaintiffs
and putative class members’ money and property, in violation of Georgia’s R.ICO statute OCGA §
16~4-1 er .req_

2. l)et"en<iants assess these improper fees. costs and charges to borrowers’ accounts in

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order to maximize their profits, and with the goal of putting borrowers into default 'sta`ttis.
l Defendants then demand payment in various contexts including without limitation, Mortgage
Acconnt statements reinstatement demands1 payoff statements collection letters and collection calls.
D_e'fe'nd`ants collect the.improper charges from borrowers" monthly payments, and also from the
proceeds of foreclosure sales and loan payoffs.

3. Defendants charge ctrstorncrs, including Plaintiffs, excessive tate fees. The amount
of such late fees is not rationally related to any damage caused by paying late and constitutes a
“pen-al,ty” under the law. ’i'he amount of such fee is in violation of OCGA § 7-6A-3. Castolners are
forced to pay this fee because Defendants often do not process checks received through the mail in
a reliable or timely iashion. resulting in additional fees The amount of scch fees is excessive

4. Defe_ndants charge customers multiple unnecessary “property inspection” fees,
sometimes on a monthly basis. and sometimes multiple times in one month. Def`endants, in many
instances never perform the property inspection Tho property inspection fees are always in an
amount in excess ot` the actual cost of the alleged “property inspection.”

5. Det`endants structure account statements in a way that makes it extremely difficult or
impossible for borrowers to determine how ranch they owe, or now any mortgage payment will be
allocated Wltcn customers call for clarification or to correct a charge they believe is in error,
Defendants divert customers through a remote, onderstaffed and undertrained call center hotline.
Customers seldom or nevertaii< with the same representative twice, and the representative on the line
is almost always looking at the customer‘s account for the first tirncv Del'endants’ representatives
reguiarly refuse or fail to provide necessary information or to correct problems

6. The improper charges described herein have a snowball effect, often forcing the

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consumers into default status and foreclosure1 resulting in further improper and unauthorized fees
andfcharges. Defendants, in violation of the contracts and in violation of law, apply Plaititiffs and
putative class members payments first to the improper fees, instead of to interest then principal, then
the improper t`ees. Such methodology increases the amount owed, thereby improperly placing
.-a'ccounts in default and foreclosure Such conduct is in violation ot applicable iaw-, including OCGA
.§ 7~4-l7.

'?. Defendants routinely treat borrowers as ittne borrowers are in default on their loans,
even though the borrowers have tendered timely and sufficient payments or have otherwise complied
with mortgage requirements Defendants have charged Plaintift`s and putative class members other
wrongful and excessive charges, but l)cfendants hide the true nature of such fees by showing on the
transaction history only “Fee Paid.H

8. Plaintiffs’ home~secure_d loan was serviced by Defendants during the period covered
by this action, and Plaintii`i`s were assessed improper charges by Defendants, as detailed herein Tne
mortgage loan was entered into in Muscogee County. Georgia. i`)ei`endants, by and through various
agents and employees, made misrepresentations at this time and after the loan closing, suppressed
material facts from Plaintiffs at this time and after the closing, and engaged in other misconduct as
set out herein Plaintiffs relied upon such t`raud, reasonably believed that Defendants would not
engage in the misconduct alleged herein, and were proximately damaged as a result Det`endants’
wrongful conduct directed toward Plaintii°fs and putative class members constitutes a breach of
contract and, tunher, constitutes a pattern of racketeering activity as prohibited by O_CGA § 16-4~1

et Seq.

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VENUE!,IURISD§CTION

9. 'i‘he Su perior Court for Muscogee County, Georgia is the proper venue for this action
_ and such Court has jurisdiction over this action. Plaintiffs’ claims arose in Museogee County,
Georgia, and the Deferxdan`ts do business in Muscogee County and have received and continue to
receive substantial revenue and profits from the improper fees charged and collected in this County.
The property which is the subject of the mortgage at issue is located in Columbus, Georg-ia, Which
is -in Muscogce County.

PARTIES

lt). Plaintii`i` Anthony Donaldson is a resident citizen of Muscogee County, Georgia.
Piai_nt_iff W_anda Donaldson is a resident citizen of Alabama.

ll. Defendant GMAC Moitgage, LI_.C is a Delaware corporation authorized to do
business in Gcorg'ia vvith its principal place oi` business in Minncapolis, Nlinnesota. Defendant
GMAC LLC is a i}ela ware corporation authorized to do business in Georgia with its princip_ai place
of business in D.etroit, Michigan. Defendants currently service all mortgages for Hornecomings
Financial, LLC t'“i~li~"”) and!or Hornecomings Financiai Network, inc {“HFN”).

12_ Dci`enriants do business in M uscogee Countv, Georgia and Defendauts conspired with
each other by charging and collecting money from theimproper fees and sharing such iil»gotten gains
amongst the conspirators Aii of the De.t`endants were and are active participants in the unlawful
conduct alleged herein

13. r\t all relevant times l_)ei`enclaots were agents representatives and/or employers of
each other. In committing the wrongful acts afieged herein, Defendants were acting \vith the consent,

permission authorization and knowledge oieacii other and perpetrated and/or conspired with an d!or

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aided and abetted the u`nlawfut, improper, and fraudulent acts as alleged herein
.CLASS §;QTIQ[§ ALLEGATLONS

l4. Plaintiffs bring this action as a Georgia class action pursuant to Georgia Code § 9-1 lv
l 23. 'i'his class is defined as follows: “aIi-Georgia persons and!or Georgia-entities who _paid_property
inspection fees, tate fees, and/or any other improper and/or excessive fees paid by Plaintiffs to
Defendants and/or any of their predecessors and affiliates, including hot not limited to Hornecomings
Fin ancial, LLC and l~iornecornings Financial Network, inc." Piaintiffs` claims are based solely upon
-Georgia- state law causes of action.

~15. Plaintiffs exclude from the putative class the following Defendants, any entity in
which a Deiendant has a controlling interest and any agents, employecs, officers and/or directors of
a Defendant or any other such entities and their representatives, heirs, successor and[or assigns, as
well as any person and/or entities who paid the improper fees to Defendant and who arc or were in
bankniptcy and received a discharge within the statute ot` limitations period prior to the filing of this
cornplaint. any member of the _iudiciary, any entity in which any member of the judiciary owns a
controlling interest, and any governmental agency or entity. Plaintiffs reserve the right, pursuant to
applicable law, to create sub-classes if necessary

lo. l’laintiiis are unaware of the exact number ol` class members at this tiine, bar such
information can he ascertained through appropriate discovery, specifically from records maintained
by Defendants and their agents

COMMGN OUESTIONS OF LAW OR .FAC'I`
17 Connnon oucstions of law and i`act exist with regard to the putative class Such

common questions of law and fact predominate over any questions affecting only individual

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members of the ciass. Snch common questions are as follows;

8.-

b.

d.

h.

Whethe'r D_e{"endants violated Georgia RICO law, OCGA § 16~14~i et seq.
Whether De'fendants uniformly and consistently charged the improper fees
to Plaintii`fs and putative class members

Whether such improper fees paid by Piaintiffs and putative class members are
and were excessive

Whether the fees at issue in this case are designed to be pure profit for
Defendants_

Whether the charging and collection of the fees at issue in this case constitute
a violation of Georgia RICO law and/or a breach of contract

Whethcr Defendants’ actions constitute “raci<eteering” under Georgia RICO
iaw.

Whether it would be unjust for the Defendants to retain the monies received
from the unlawful and excessive fees at issue in this case.

Whethcr i,`)el`cndants conspired to commit the wrongful acts aileged herein
Whether Plaintiffs and putative class members are entitled to class reiief as
requested herein

Whether the amounts ofthe fees at issue herein are excessive underthe terms
of the contract author applicable law.

Whether Defendants assessed and collected improper and/or excessive fees
as set out herein

Whezher Defendants have ceased charging the unlawful and excessive fees

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et issue in this case

m. `Whether an injunction is necessary to keep Defendants from eharging and
collecting the unlawful and excessive fees in this case

n. _ Whethe_r the amount of the improper fees charged by Defendants bear any

relation to any cost incurred by Defendants-.

o. Whether the fees at issue in this case end the amount of the fees are
unconscionable

p. Whether the fees at issue are charged in a uniform and consistent manner.

q. Whether l)efendants use form documents to perpetrate the wrongful conduct

set out herein.

18. Plaintiffs’ claims are typical of the claims of the members of the class, and
Defendnnts’ defenses to Piaintifi’s’ claims are typical 05 their defenses to the claims of ali class
members i>iaint ii`t’s have retained class connsel competent to prosecute class actions and such class
counsel are financially ahie to represent the ciass. The total number of members of the putative class
exceeds two hundred (200} members

194 'i`he class action mechanism is superior to other availahie methods for the fair and
efficient adjudication of this litigation since individual joinder oi` all members of the class is
impracticable The class action mechanism provides the benefit of unitary ndjudication, economies
of scale and comprehensive supervision by a single court The interests ofjudicial economy favor
adjudicating the claims for lite Plaintil"'i class rather than for the lilaintif'i`s on an individual hnsis.

20‘ in this case, questions of law and fact predominate over any questions affecting only

individual members

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FACTUAL ALLEGATI§ §N§

'_21. 'P-iaintiffs and putative class members each have or had a mortgage serviced by
j Defendants. Defendants have engaged in the unfair, unlawful, frauduient, wrongful and deceptive
practice of adding and/or force»placing the fees on plaintiffs1 and putative class members' accounts
This conduct also constitutes a pattern of racketeering activity by which Defendants-unlawl`ully and
improperly acquired Pl`aint'iffs’ and putative class members’ money and property, in violation of
Georgia’s RICO statute, OCGA § 1614-l etssq.

22. Tite right to service these mortgage loans closed through a local lender is often farmed
out to a third-party “mortgage servioer,” such as the Defendants, tvho only profit from the fees and
other charges that can be generated on servicing the mortgages According to a study done by the
Moitgage Baniters Association oi` America, mortgage servicers average only 360 per loan per year
in net profit Thu s, they have a strong incentive to impose any fees and charges they can to increase
their profit margin

23. Defendants service loans on behalf of mortgage len ders, not Plaintiffs and the putative
class Dci`endants’ “customers" arc a captive audience The customers have no choice in who
services their loans. They have no option to changes servicers if they are unhappy in any way.

24. Because their “customers” have no way out, Defendants also have no incentive to
offer good customer service Because Dei`endants have demonstrated that they will force customers
into default and i`oreclosnre, Piaintii`i's and the putative class arc forced to paythe iliegai, unnecessary
and excessive charges

25. Mortgage servicing abuses such as those alleged iterein, arc standard operating

procedure for Dct“cndants and certain other mortgage servicers, as part of their goal to maximize

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profits on the backs of smuggling homeowners Defe'ndants make even more profit if a loan goes
into default because Dcfendants can charge additional i`ees, including but not limited to demand
.fe.es, property inspection fees, late fees, overnight delivery .fees, tax fees, attorneys fees, and payoff
statement ch arges-.

26. Through out the time relevant hereto, Dei’cntlants have engaged in a uniform scheme
and course of conduct to inflate their corporate profits by charging and collecting various fees not
authorized by the loan documents or applicable law and/or by charging and collecting excessive fees.
The components of this scheme involve common tactics, including, but not limited to:

a. Communicating with the Piaintift`s and putative class members in an uniform
and consistent manner, by mail, facsimile and electronically either via the
internat andfor through electronic mail, and demanding payment for such
improper and excessive fees;

b. Assessrnent of unnecessary and unauthorized fees through the wrongful
application of uniform and consistent contractual provisions; and

Other misconduct as set out herein.

9

27. i.)etendants charge Plaintitt"s and putative class members improper and excessive
late fees. Such late fees are not designed to compensate Dei"endants for any cost incurred from the
late payment, but are, in fact, “penalties” under applicable law. Customers are forced to pay late fees
because Defendants lose payments, and De{endants often fail to process checks and money orders
received through the mail in a timely fashion Thus, Plaintiii's and the putative class members are
paying unnecessary and excessive amounts for late fees Dez°endants also charge late fees in excess

of that permitted by the loan documents and applicable law.

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28` Def_endants charge customers multiple, unnecessary and excessive “_prope'rty
` inspec`_tifou” fees, often on a -mon_thly.basis-, W_i_thout. any notice that customers’ property was being
inspected or any explanation of vth any inspection was necessary It` customers of the putative class
cail to ask why the fec was assessed Defendants’ employees are trained to respond that they send
f- people to drive._hy their homes'to confirm that someone-is still living there 'In reality+ the monthly
inspections are never done, even though Defendants claim otherwise Even if some of the property
inspections are done, the amount Defcndants charge is well in excess of the cost of the property
inspections Such excessive fees are not permitted by contract or law.

29. Defendants represent the improper fees as legitimate charges andfor as recoupment
of expenses incurred when, in fact, such fees constitute nothing more than pure profit or have no
logical connection to the expenses actually incurred by Dcfendants.

30. Plaintiffs, after receiving Mortgage Accoont statements from Defendants, paid such
improper fees as set out herein. Plaintiffs payments were credited on at least the following dates:
2/28/07', 6/2{)/07, 6/28/0?’, 7/12/07, 2/4/08, 2!8/(}8 (4 fees paid), 3/6/08 (6 fees paid) and 5/29/99,

DEFENDANTS’ SETTLEMENT WITH THE WEST VIRGINIA

A'rToRNnY QENERAL

3]. Defendants currently service mortgages for HC and!or HFN. Upon information
and belief `Defendants are a§so successors ia interest to at least one ofthe Homecomings entities and
at all times relevant hereto Defendants and both Homecomings entities have been affiliated entities
HF-N entered into an “Asstsrance of Discontinuance” with the West Virginia Attorney General dated
january 5, 2005 In such settlement agreement HF'N agreed as t`ollows:

l’aragraph 7(h). All amounts hereafter paid by borrowers to
Homecornings in connection with a consumer ioan shall be posted

l{)

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upon receipt against payments due, and prior to crediting taxes,
insurance or §ees....

Paragraph 7(d) ...... Homeeornings shail not charge to consumers

absent a foreclosure sale attorneys fees, property inspection

fees, brokers price opinion fees-, and other fees not allowed by

S£a£ut€.

Paragraph IO. Hornecornings agrees to take the toilowing actions

with respect to all West Virginia accounts that it serviced for

the period beginning Januar'y i, 1999, up to and including the

presents

al Homecornings shall issue account credits or refunds, as applicahie, to
all West Virginia consumers from whom it collected or charged any
of the fees or charges that Hornecornings has agreed not to assess in
paragraph 7(d) above

32. HFN has already agreed, at least with respect to West Virginia residents, that it`is
improper to charge property inspection fees when there is no foreclosure proceeding and HFN has
farther agreed to refund all such fees charged to West Virginia residents HFN has further agreed to
post payments in the proper order, that is, that payments should first he allocated to pay principal and
interest first and fees last.

33. The reiiet that HFN has already agreed to in West Virginia with regard to the property
inspection fees and the posting of payments constitute some ol` the same relief sought with regard to
this Georgia class

UN'I` ()NE
VIGLATION OF GE§ORGIA “RICO" STATUTE
34. Paragraph t through 33 are incorporated by reference

35. Defendants’ conduct as set out herein constitutes violations of OCGA § 16-4~1 er

.req. {hereinafter the “Georgia RICO statute").

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36. Plaintil‘fs-a_re “person's" with the meaning of the G'eorgia RlC`O statuteh

37. Each Defendant is a “person” within the meaning of the Georgia RICC statute

38. l`)efendants are each separately, and collectiveiy together, an “enterprise” within the
meaning of the Georgia RICO statute With regard to accounts which were serviced by HC andfor
.HFN but are now serviced by Defendants, HC and HFN were part of the enterprise along with
i)et"‘endants. The enterprise also exists. with regard te the charging of the property inspection fees.
between i)efcndants and the property inspection companies which allegedly receive all or a portion
_ of the property inspection fees.

39. ln furtherance of their enterprise or enterprises, Defendants each separatelys andfor
collectively together, and/or in concert with their otticers, directors, agent, employees subsidiaries
and parent companies, engaged in prohibited and unlawful activity~or endeavored or conspired to
engage in prohibited and unlawful activity-en two or more occasions To the extent that any
Det"endant did not participate directly in the unlawful and/or improper acts. the Dei`endants knowingly
and willfully aided and abetted these violations, or arc vicariously liable for such wrongdoing These
unlawful acts includez but are not limited to:

a. Unlawfuliy taking and appropriating Plaintiffs` money and property in
violation of OCGA § lo-S-?. (theft by taking).

b. Unlawfully obtaining Plaintii`i`s' money and property by deceitful means and
artful practices with the intent to deprive them of property in violation of
OCGA § i6~8~2 (t.heft by deception).

c. Unlawtnlly sending causing to be sent and receiving letters, checks and other

papers and items, including mortgage account statements sent through the

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United States Postai Scrvice1 for the purpose of executing and attempting to
execute l)et`endants’ fraudulent scheme in violation of iii U.S.C. § 1341

d-. Unlaw-fuliy causing to be sent and receiving writings (oontraets,. ietters, and
invoices) and sound communications (including but not limited to telephone
calls, facsimile transmissions and bank wire transfers} for the purpose of
executing and attempting to execute Defendants’ fraudulent scheme in

violation Of 18 U.S.C. § 1343.

e. Sending deceptive commercial electronic mail in violation of OCGA § 16-9-
lOl.
f. Engaging in misconduct as set out herein relating to residential mortgage

frand, in violation of OCGA § ltS-S-lOZ.

40. l`)efendants used standard uniform documents in furtherance of their scheme Each
act Defendants engaged in constitutes a separate incident of “raeketeering activity" within the
meaning of the Georgia RI_CO statute The multiple acts of racketeering activity were interrelated
were part of a common and continuous pattern of fraudulent acts and schemes1 were perpetrated for
the same or similar purposes1 and were not a series of disconnected isolated or sporadic aets. They
were part of the regular and routine way in which Defendants conduct their business The multiple
acts constitute apattern of racketeeri ng activity Det`endants furtherintended to defraud Plaintift`s and
putative class members with regard to the mortgages secured by real property as set ont herein

41. Dcfendants each separately, and/or collectively together, engaged in the racketeering
activity with the intent, motive, and/or effect of deriving pecuniary gain. Defendants targeted

Plaintiffs in furtherance of their scheme to defraud

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42_. Defendants, through-this pattern of racketeering act-ivity, directly or indirectly-acquired
the property and money of 'Pi-aintiffs and the putative class members Plaintiffs and putative class
members relied to their detriment on the fraud of Defendants in furtherance of Defendants’ scheme

43. Dei`eudants’ officers, directors, agents, and empioyees directly or indirectly
n participated in the enterprises through a pattern of racketeering.activity.

44. Defendants’ wrongful acts alleged herein proximately and directly caused damage t_o
i’lainrii`i's and putative ciass members P'iaintiffs and putative class members` injuries flow directiy
from the predicate offenses set out herein.

WHEREFORE, PREMISES CONSIDERBD, Plaintiffs, on behalf of themselves and putative
class members seek to recover all damages allowable as a result of such violations, to include treble
damages punitive damages, interest and attorney fees

§LOU_NT TWO
BREACH OF CONTRACT

4:"\. Paragraph l through 44 are incorporated by reference

46. A contract existed between Plaintiffs and the Defendants and some putative class
members and De§endants.

47. Det`endanrs‘ uniawfui conduct described herein constitutes a breach of contract for
Plaintiffs and putative class members who entered into contracts With Defendants. Such breaches of
contract are continuing as of the date of filing this action and have caused damage to Plaintiifs and
putative class members

Wl-iERi~`,FORE, PREMISES CONSIDERED. Plaintiffs, on behalf of themselves and putative

class members, seek to recover all damages as a resuit of such violations, plus interest

14

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COUI:§T THREE
_SCHEME '£‘O DEFRAUD/CONSPIRACY

4`8_. Paragraph- l through 4”! are incorporated-by reference

49. Defeudants entered into a scheme to defraud and conspired to defraud Plaintifl"s and
putative class members as set out herein and among themselves to accomplish the improper actions
' lier`ein, With regard to'accjounts that were serviced by HC andfor HFN but are now serviced by
Defendants, HC and/or HFN entered into a scheme to defraud and conspired to defraud.Plaintift`s
and/or putative class members With regard to the property inspection fees1 Defendants conspired
with the property inspection companies vvhich allegedly received all or a portion of the property
inspection fees Plaintiffs and putative class members have paid the improper fees to l)efendants
which have caused Plaintitfs and putative class members to be damaged

WHEREFORE, PREM.[SES CONSIDERED, Plaintit"§s, on behalf of themselves and putative
class members seek to recover all damages as a result of such violations1 plus interest

C{)UNT F{)UR

 

llNJUS’l` RNRICHMENT
50. Paragraphs i through 49 are incorporated by reference
51. Deiendants1 under the circumstances set out herein, have been unjustly enriched at-the
expense of Plaintiifs and putative class members
Wl'iEREFORE, Pi?.EMISES CONSTDERED, Plainli l`ls, on behalf of themselves and putative

class members, seek to_ recover all damages as a result of such violations, plus interest

15

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CO§NT-§IVE
DECLARAT()RY, EQUITABLE A.ND INJUNCTIVE RELIEF
52. Paragraplis l through 51 are incorporated by reference
53-.. Plaintiffs and putative-class members respectfully request that this Hono`rable Court
declare D'ef'endants' conduct as improper and in violation cf Georg`ia law and to further enjoin
Defendanis from collecting such unlawful and excessive fees

COUNT SIX

 

FRAUD & DECEIT
54. Paragraphs i through 53 are incorporated by reference
55. Ar nil relevant times Defendants were under a duty not to misrepresent the true nature
of the fees at issue
56. At all relevant times, the Defendants made material misrepresentations regarding the
fees at issue which caused Plaintiffs and putative class members to pay such fees. Plaintiffs and
putative class members relied upon sneh misrepresentations
5?. 'l`he Defendants intentionally misled Plaintiffs and putative class members regarding
the true nature and purpose of the fees set out herein for the purpose of inducing customers to pay
such fees
58. Dcfendants misled Plaintiffs and putative class members as follows:
a. by leading Plaintiffs and putative class members to believe that the amount of
such fees were rationally related to expenses incurred by Defendants;
h. by leading Piaintiffs and putative class members to heiieve that Plaintiffs and

putative class members were required to pay such fees;

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c. by leading i>laintifi`s and putative class members to believe that such fees were
not excessive;
d. by leading Plaintiffs and-putative class members to'believe that.such fees were
legitimate charges

59. Detendants also failed to disciose numerous facts to Piaintiffs and putative class
members as set out herein Speciffically, Der`endants failed to disclose that such-fees were excessive
and bore no relation to any expenses incurred by Defendants, that such fees were not legitimate
charges that l)cienciants were wrongfuliy and unilaterally increasing payments, that Defendants
would fail to send to Plaintiffs and putative class members enough information to make an informed
decision regarding such fees, and that Plaintiffs and putative class members Were not required by their
contracts to pay such fees

60. St\ch misrepresentation of material facts and failure to disclose material facts caused
financial damage to Piaintiffs and putative class members

WHEREFORE, Plaintiffs. on behalf of themselves and others similarly situated, seek to
recover all damages as a result of such violations1 plus interest

§§OUN’I SEVEN
VIOLATION CF GCGA § 7-6A-3 (Georgia Fair Lending Act)

61 Paragraphs l through 60 are incorporated by reference

62. i)ei`cndants are in violation of OCGA § 7~6A-3 entitled “Limitations and Prohibited
P-rac_tices Related to All _Horne Loans.” Defendants, by ctr arging excessive late focs, are in violation
ot` the entire statute 7~6A~3, and specifically 7~6A.-3(3). Such section states “no creditor or servicer

may charge a borrower a tate payment charge unless the loan documents specifically authorize the

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charge, the charge is not imposed un`les;s.the payment`is past due for ten days or more, and `the'charge
does not exceed 5 percent of the amount of the late payment A late payment charge'may not be
imposed more than once with respect to a particular late payment.”

' '65. Defendants are-in violation of this:section as the late payments are charged in excess
oftlle statutorily allowable amount and such violation has proximately caused damage to -Plaintiff and
putative class members. Pursuam to OCGA § 7-6A-'?. Pla§nliffs on behalf et themselves and putative
class members request any and all actual damages to which they may be entitled statutory damages
` equal to the recovery of two times the interest paid under each loan, punitive damages, costs and
reasonable attorneys’ fees.

WHERE, FO R`E,, PREl\/llS ES CONSlDERED, Plaintil`t"$, on behalf of themselves and putative
class members, Seelc to recover all damages allowable as a result of such violations.

PLAINTIFFS DE_MANI) A TRIAL BY STRUCK JURY ON ALL ISSUES IN THIS

 

CASE.
Respectfully submitted
Ma/A%Z M//
Rodney E. ' er (Georgia Bar 7?9467)
Attorney f laintiffs
§!F C()UNSEL:

MCCALI.,U M., METHVIN & TERRELL, 'P.C.
2201 Arlington Avenue Seuth
Birmingearn, Alabarna 35205

(2()5) QBQ»OlQQ - telephone

(205} 939-0399 » facsimile

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l’llEASE SERVE DEFENDANTS BY PRIVATE P.ROCESS SERVICE:

j 'GMAC.LLC-

` eto C.'l_` Corporation S'ystem
328 Alexander Stree`t, #`lO
clo Corporation Process Co.
l‘vlarietta. Georgia 30060

GMAC Mortgage, IJLC

c/o Corporation Service-Compa_ny
40 'l"echnology Parkway South
Suite 300

Norcross, GA 30092

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'MUSCOGEE COUN'I"-Y SUPERI_OR COI§§E_'§RGEA' MUSCO.GEE COUNTY

STATE 0}3‘ GEORGIA SU PERIOR!S?ATE C_OLJR`T`
FELED lN OFFFCE
ANTHONY ANI) WANDA DONALDSON, )
individually and on behalf of all persons ) §ABUB 295 mcg§:l )
similarly situated, ) LERK w
) M. l.ll\lD`A PlERCE, CLERK
Plaint`iff`s, )
l
v. ) Civil Actlon 'File l°~lo.:
l
GMAC MOR'}.`GAGE, LLC, AND } .
Givtac Ltc, z 3d OClC/\/ SE>?DOI §
)_
Defendants. )
SUMMON§
{}l\’lAC IJLC

do CT Corporation System
328 Alexander Street, #1{}
cfc Corporation Process Co.
Marietta, G'eorgla 3006(}

T{) THE ABOVE NAl\/IED DEFE€NDANT:
- ` You are hereby summoned and required to file with the Clerk of Said Court and serve upon
the Plaintiff’s attorney, whose name and address is:

Rodney E, Miller, Esquire
l\/lcCallurn, Methvln & 'l`errell, P,C.
2201 Arlington Avenue South
Birmingharn, rthJ 35205

an answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service lt you fail to do so. judgment by default will
be taken against you for the relief demanded in the complaint

ran”_* gm Q aaer @f»l(t|ll=§ l ,2009.

Linda Plerce
of Superior Courl

Deputy Clerk

     

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RETURN ON SERVICE

l hereby certify and return that on the day of , 2009,
`_I. served this summons together with the complaint as.follows:

'By personal service on defendant at

 

 

By serving a person of suitable age and discretion then residing in the defendant’s

 

usual place of abode. (Give name and address of person served).

 

l`:`ly' serving an officer, a managing or general agent, or any other agent authorized by
appointment or by law to receive service of process of the defendant corporation, partnership, or

unincorporated association .(Give natne, capacity and address of person served)..

 

 

l hereby certify under penalty of perjury tinder the laws of the State of Georgia that the
foregoing is tree and correct.

 

Date Authorized or Specially Appoirited Process
Server

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Me'scoona coller s-UPERIOR cone®RG,A, MHSC_

 

S'I`ATE OF GEORGIA SUPERIOR/ST§)T(§E§§S§FW
FILED !N OFFJCE
..ANTHONY ANI) WANDA DONALDS(}N, ) AU 2 6
individually and on behalf of all persons ) DCD
similarly-situated, ) -D C RK
) M. LINDA PFERCEL CLERK
Pfaintii`fs, }
)
v. ) Civil Action File No.:
)
GMAC MOR"§`GAGE, LLC, ANI) ) '
GMAC LLC, ) 3b1 ©<§ Q,\/%€>‘JCT b
)
Dei’endants. )
SUMMQNS

{_§MAC Morigage, LLC

do Corperation Service Company
40 Technoiogy Parkway. So\_lth
Sui`te 300

Norcross, GA 38992

ri`O THE AB()VE NAMED DEFENDANT:
You are hereby summoned and required co file with the Clerlr of Said Court and serve upon
the Plaintiff*s attorney, Whose name and address is:

Rodney E. Mifler, Esquire
McCalinm, Me[hvin & Terrell, P.C.
2201 Arling£on Avenue 80th
Birrningharn, AL 352{}5

an answer ro the compiaint Which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of she day of service l'fyou fail to do so, jndgrnen£ by defauit will
be taken againsi you for the reiief/demanded in the complaint.

This @Q 9 day@ Q fig €&l ,2{)09.

Linda Pierce
ierk of Soperior Court

     

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Depnty Clerl<

 

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RE'l`URN {)N SERVICE

_ v I-hereby certify and return that on the day of 7 _ .. . 2009,
_ l_served this summons together with the complaint as foilows:

 

' By personal service on defendant at

 

By serving a person oi` suitable age-and discretion then.residing in the defendant’s

 

osoal place of abode. (Give name and address of person served),

 

By serving an officer, a managing or general agent, or any other agent authorized by
appointment or by law to receive service of process of the defendant corporationv partnership or

unincorporated associationl (Give name, capacity and address of person served).

 

 

l hereby certify under penalty of perjury under the laws of the State of Georgia that the
foregoing is true and correctl

 

.Date A-uthorized or Specially Ap_pointed Process
Server

